
USCA1 Opinion

	














                            United States Court of Appeals
                                For the First Circuit
                                 ____________________


        No. 96-1796

                                 RANDALL J. SOILEAU,

                                Plaintiff, Appellant,

                                          v.

                               GUILFORD OF MAINE, INC.,

                                 Defendant, Appellee.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. Morton A. Brody, U.S. District Judge]
                                            ___________________

                                 ____________________

                                        Before

                            Cyr and Lynch, Circuit Judges,
                                           ______________

                           and McAuliffe, District Judge.*
                                          ______________

                                 ____________________

            Martha  S.  Temple with  whom  Foote  &amp;  Temple was  on  brief for
            __________________             ________________
        appellant.
            Richard  G. Moon  with whom  James  P.  Bailinson and  Moon, Moss,
            ________________             ____________________      ___________
        McGill &amp; Bachelder, P.A. were on brief for appellee.
        ________________________
                                 ____________________

                                   January 23, 1997
                                 ____________________




                            
        ____________________

        *Of the District of New Hampshire, sitting by designation.















                      LYNCH,  Circuit Judge.  Randall Soileau, terminated
                      LYNCH,  Circuit Judge.
                              _____________

            from  his employment  as  an industrial  process engineer  at

            Guilford of  Maine, Inc.,  seeks redress under  the Americans

            with Disabilities Act ("ADA"), 42 U.S.C.   12101 et seq., and
                                                             _______

            the Maine  Human Rights Act, Me.  Rev. Stat. Ann. tit.  5,   

            4551 et  seq.  He  first claims  that Guilford  discriminated
                 ________

            against  him because of his  disability.  He  is disabled, he

            asserts, because his diagnosed depressive disorder interferes

            with his ability to  interact with others.  That  ability, he

            says,   is  a   "major  life   activit[y]"  which   has  been

            "substantially  limit[ed]" within the meaning of the ADA.  42

            U.S.C.   12102(2).  Secondly, he says, the termination of his

            employment was in retaliation for his requesting a reasonable

            accommodation.  His claims  were rejected on summary judgment

            by  the trial court in a  carefully reasoned opinion, Soileau
                                                                  _______

            v. Guilford of  Maine, Inc., 928 F.  Supp. 37 (D.  Me. 1996).
               ________________________

            We affirm.

                                          I

                      Only  those facts  necessary to  resolve  the legal

            issues  are outlined.  The  facts are described  in the light

            most  favorable to  Soileau, the  party against  whom summary

            judgment  was  entered.     Hoeppner  v.  Crotched   Mountain
                                        ________      ___________________

            Rehabilitation Ctr., Inc., 31 F.3d 9, 14 (1st Cir. 1994)
            _________________________

                      Soileau worked  in various capacities  for Guilford

            from 1979 until April 22, 1994.  In 1986, he began working in



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            the  industrial  engineering  department  as   a  time  study

            analyst, which involved timing various aspects  of production

            at Guilford.   A subset  of his duties  involved facilitating

            Process Activity Analysis ("PAA")  meetings, at which ways of

            improving  department efficiency  were discussed.    In 1992,

            Soileau began working for a new supervisor, Matt Earnest, who

            found  areas  of Soileau's  performance  not  to his  liking.

            Around this time, Soileau requested a pay raise which was not

            granted; after this, Earnest perceived a marked deterioration

            in Soileau's attitude.   The relationship between Soileau and

            Earnest quickly soured, with Soileau feeling that Earnest was

            harassing him.   While  rating Soileau's work  performance as

            average to above average, Earnest consistently cautioned that

            Soileau needed to gain credibility and the respect of his co-

            workers.

                      On  May 10,  1993,  Earnest gave  Soileau a  verbal

            warning  about  his  negative  attitude  at  work.    Earnest

            requested that  Soileau elicit  his co-workers' views  on his

            performance, which  Soileau did.  When  Earnest asked Soileau

            to come up with  a plan to address the  weaknesses identified

            in this survey,  Soileau refused, because he  felt the survey

            did not show  any problem areas.  On March  22, 1994, Earnest

            instructed Soileau  to train a  co-worker to perform  some of

            Soileau's duties in preparation for expanding the PAA program

            to other departments.  When Soileau did not do so (because he



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            felt the request  was not authorized  by the pertinent  plant

            committees), a dispute arose between the two men.

                      After consulting with the company's human resources

            manager,    Earnest   issued   Soileau   a   "Final   Written

            Warning/Suspension" on  March 23, 1994.   This warning listed

            four performance deficiencies, ordered  a two day suspension,

            and required Soileau to evaluate his own performance and come

            back  with an improvement plan.  The warning said there would

            be  a four  week  period during  which Soileau's  performance

            would be monitored.   Failure to improve would lead  to other

            consequences, which could  include job termination.   Earnest

            explained all of this to Soileau that day.

                      The  final  warning proved,  understandably,  to be

            very  stressful  for Soileau.    On  March 28,  Soileau  told

            Earnest  that he had been suicidal  several years earlier and

            that he feared he was becoming  ill again.  Earnest had  been

            unaware  of Soileau's condition; all he had known was that in

            1990 Soileau had taken a disability leave for stress.

                      On April 6, Soileau went to see a psychologist, Dr.

            Dannel Starbird, whom he had seen four years earlier during a

            depressive episode which had been precipitated in part by his

            deteriorating relationship with his girlfriend.  In 1990, Dr.

            Starbird had  diagnosed  Soileau with  dysthymia,  a  chronic

            depressive  disorder characterized  by intermittent  bouts of

            depression.  On Dr. Starbird's advice, Soileau had sought and



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            received  a five  week disability  leave from  work.   He had

            returned  to  work without  restriction  and  had no  further

            psychological counselling  until just after  he received  the

            final warning in March 1994.

                      Soileau  told  Dr. Starbird  that  his  job was  in

            jeopardy.  Dr. Starbird diagnosed Soileau as suffering from a

            bout  of depression, a condition  that was probably caused by

            receiving the warning.  On April 7, Soileau told Earnest that

            he was  having a difficult time interacting with other people

            and  having a  particularly  hard time  facilitating the  PAA

            meetings.  Earnest  agreed that, for the time  being, Soileau

            would be  relieved of  his responsibilities for  facilitating

            meetings and would mainly do clerical work.  That was done.

                      On April 12,  Dr. Starbird wrote to  Guilford.  The

            letter asked that Soileau's work duties be "restricted  so as

            to   avoid   responsibilities   which   require   significant

            interaction with  other employees," and  advised that Soileau

            "should not be ridiculed, provoked or startled by or in front

            of supervisors or other employees."

                      Earnest and  Soileau met on April  21; Earnest said

            he felt the  accommodations already made met  the requests in

            the doctor's letter.   At no time during that  meeting or the

            four  week trial  period did  Soileau present  an improvement

            plan  to  address  the  four  points  raised  in the  written

            warning.



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                      On April 22,  Soileau's employment was  terminated.

            Earnest told  Soileau  it  was  because  there  had  been  no

            improvement in the four problem areas and because Soileau had

            not  submitted an  improvement plan.   In May,  Soileau began

            looking for another job.   He looked for full-time employment

            and placed no restrictions on the type of work sought.

                                          II

                      Review  of entry  of summary  judgment is  de novo.
                                                                 __ ____

            Wood v. Clemons, 89 F.3d 922, 927 (1st Cir. 1996).  
            ____    _______

                      As the district court noted, interpretation of  the

            ADA and of the Maine Human  Rights Act have proceeded hand in

            hand,  and so we discuss the ADA, which has provided guidance

            to Maine  courts in interpreting the state  statute.  Winston
                                                                  _______

            v.  Maine Technical College Sys., 631 A.2d 70, 74 (Me. 1993),
                ____________________________

            cert. denied, 114 S. Ct. 1643 (1994).  
            ____________

                      Soileau's  initial claim under  the ADA  depends on

            his establishing  that he suffers from  a "disability" within

            the meaning of the statute.  Jacques v. Clean-Up Group, Inc.,
                                         _______    ____________________

            96  F.3d  506, 511  (1st Cir.  1996);  see also  42  U.S.C.  
                                                   ________

            12112(a).  The definition of disability must be understood in

            light of congressional objectives in enacting the ADA.  In an

            effort to eliminate  discrimination against individuals  with

            disabilities,   the   statute   prohibits    employers   from

            discriminating  against   "a  qualified  individual   with  a

            disability because of the disability."  42 U.S.C.   12112(a).



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            The antidiscrimination obligation  is unusual in the  context

            of  federal civil  rights statutes.   It  imposes not  only a

            prohibition against discrimination,  but also, in appropriate

            circumstances,  a  positive  obligation  to  make  reasonable

            accommodations.  Absent a disability, however, no obligations

            are triggered for the employer.

                      Only  one   of  the  ADA's  three   definitions  of

            "disability"  is  pertinent here:    Soileau  claims that  he

            suffered   from  "a  physical   or  mental   impairment  that

            substantially limits one or more of the major life activities

            of such  individual."   Id.   12102(2)(A); see  Katz v.  City
                                    ___                ___  ____     ____

            Metal Co., 87 F.3d 26, 30-31 (1st Cir. 1996).
            _________

                      To make  out a  prima facie case  of discrimination

            based  on   this  definition  of  disability,   Soileau  must

            establish  three elements:    (1)that he  had a  "physical or

            mental impairment"  that  (2) "substantially  limits" (3)  "a

            major  life activity."  42 U.S.C.   12102(2)(A).  Soileau has

            successfully  shown  that  he  met  the  first  element;  his

            diagnosed dysthymia is a mental impairment within the meaning

            of  the statute.  See 29 C.F.R.   1630.2(h)(2).  However, the
                              ___

            evidence Soileau  produced does not  suffice, as a  matter of

            law,  for   a  reasonable  jury  to  conclude   that  he  was

            substantially  impaired in  a major  life activity.   Soileau

            constructs his  argument by saying  that the  ability to  get





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            along with others is the major life activity2 in  which he is

            substantially  impaired.  The  regulations promulgated by the

            Equal Employment Opportunity Commission  under the ADA do not

            list  such an  ability  among  the  exemplars of  major  life

            activities.3  Id.   1630.2(i).  
                          ___

                      The concept  of "ability to get  along with others"

            is  remarkably  elastic, perhaps  so much  so  as to  make it

            unworkable as a definition.  While such an ability is a skill

            to  be  prized, it  is different  in  kind from  breathing or

            walking,  two exemplars  which are  used in  the regulations.

            Further, whether a person has such an ability may be a matter

            of  subjective judgment; and the ability may or may not exist

            depending on  context.  Here, Soileau's  alleged inability to

            interact  with others  came  and went  and  was triggered  by

            vicissitudes  of  life  which  are   normally  stressful  for

            ordinary people -- losing a girlfriend or being criticized by

            a  supervisor.   Soileau's last  depressive episode  was four

                                
            ____________________

            2.  Although Soileau  also argued to the  district court that
            his ability to work was the major life activity that had been
            impaired,  he has not pursued  this claim on  appeal.  In any
            event, this claim would fail because  he has not shown he  is
            unable to work.  See 29 C.F.R.   1630.2(j)(3).
                             ___

            3.  The  EEOC Compliance  Manual  does list  interacting with
            others as  a  major life  activity.   EEOC Compliance  Manual
            (CCH)   902.3,   6883, at 5311 (1995).  While  this court has
            found reference to the  EEOC Compliance Manual to be  helpful
            on occasion,  see, e.g., Katz, 87  F.3d at 31, the  manual is
                          ___  ____  ____
            hardly  binding.  Cf. Schmidt  v. Safeway Inc.,  864 F. Supp.
                              ___ _______     ___________
            991,  1001 (D.  Or.  1994) (noting  that  the EEOC  Technical
            Assistance Manual "is not law" and "does [not] have the force
            of law").

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            years earlier, and  he had  no apparent  difficulties in  the

            interim.  To impose legally enforceable duties on an employer

            based  on such an amorphous concept would be problematic.  It

            may  be  that  a  more  narrowly  defined  concept  going  to

            essential  attributes of  human  communication  could,  in  a

            particular  setting,  be  understood   to  be  a  major  life

            activity, but we need not address that question here.

                      But  even  assuming,  dubitante,  that  a colorable
                                            _________

            claim may be made that "ability to get  along with others" is

            or may be (on specific facts) a major life activity under the

            ADA,  the  evidence  here   does  not  show  any  substantial

            limitation.  Under the  relevant ADA regulation an individual

            faces a "substantial limitation" when he is:

                      (i)    Unable  to perform  a  major  life
                      activity that the  average person in  the
                      general population can perform; or
                      (ii)  Significantly restricted as  to the
                      condition, manner or duration under which
                      an  individual  can perform  a particular
                      major  life activity  as compared  to the
                      condition,  manner,   or  duration  under
                      which the  average person in  the general
                      population  can  perform that  same major
                      life activity.

            Id.      1630.2(j)(l).    One  factor  to  be  considered  in
            ___

            determining whether an individual is substantially limited in

            a major life  activity is  "the nature and  severity" of  the

            impairment.   Id.   1630.2(j)(2)(i).   The evidence  does not
                          ___

            establish   that  Soileau   had   particular  difficulty   in

            interacting   with   others,  except   for   his  supervisor.



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            Impairment  is to be measured in relation to normalcy, or, in

            any event, to what  the average person does.   Soileau claims

            he had to  leave pubs  and stores when  they became  crowded.

            But there is nothing extraordinary about preferring uncrowded

            places.   Soileau  performed  his normal  daily chores,  went

            grocery  shopping, and visited pubs.   That he  left pubs and

            stores  when  he felt  there were  too  many people  does not

            establish that the nature and severity of his impairment were

            substantial.

                      Another  factor to  be  considered is  the expected

            duration of the  impairment.  Id.   1630.2(j)(2)(ii).   While
                                          ___

            Dr.  Starbird  believes  that Soileau's  underlying  disorder

            (dysthymia) will be a life-long condition, Soileau has failed

            to  adduce any  evidence that  his impairment  -- the  acute,

            episodic  depression   --  will  be  long-term.     His  last

            depressive  episode, in 1990, required  only a five week work

            absence  before he was able  to return to  his duties without

            restriction.     During   the  1994  episode,   Dr.  Starbird

            suggested, at most, that Soileau not have to run meetings for

            a  four  month  period.     Considering  these  factors  both

            separately and together, Soileau has not met his burden.  The

            impairment  must be  a significant one  to trigger  the Act's

            obligation.

                                         III





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                      Soileau  asserts  an  independent  claim  that  his

            employment  was terminated in  retaliation for his requesting

            an accommodation.   He may  assert such  a claim even  if the

            underlying  claim of  disability fails.   Mesnick  v. General
                                                      _______     _______

            Elec.,  Co., 950 F.2d 816, 827 (1st Cir. 1991), cert. denied,
            ___________                                     ____________

            504 U.S. 985 (1992).

                      The   ADA   prohibits  discrimination   against  an

            individual "because  such individual  has opposed any  act or

            practice  made  unlawful  by  this chapter  or  because  such

            individual   made   a   charge,   testified,   assisted,   or

            participated in any  manner in an  investigation, proceeding,

            or hearing under this chapter."  42 U.S.C.   12203(a).

                      It is questionable whether  Soileau fits within the

            literal language of  the statute:   he filed  no charge,  nor

            participated  in any  investigation.   Moreover,  he did  not

            literally oppose any act or practice, but simply requested an

            accommodation,  which was  given.   It would  seem anomalous,

            however, to think Congress intended no retaliation protection

            for employees who request  a reasonable accommodation  unless

            they also file a  formal charge.  This would  leave employees

            unprotected  if an  employer  granted  the accommodation  and

            shortly  thereafter terminated  the employee  in retaliation.

            And so,  without addressing  the issue  any further,  we will

            assume arguendo that Soileau's  request brings him within the
                   ________

            coverage of 42 U.S.C.   12203(a).



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                      The ADA incorporates the procedures and enforcement

            mechanisms  of  Title  VII,  the  basic  statute  prohibiting

            discrimination   in  employment.      See  id.      12117(a).
                                                  ___  ___

            Accordingly, guidance on the proper analysis of Soileau's ADA

            retaliation  claim is  found in  Title VII  cases.   Carparts
                                                                 ________

            Distrib.  Ctr., Inc. v. Automotive Wholesaler's Assoc. of New
            ____________________    _____________________________________

            England, Inc., 37 F.3d 12, 16 (1st Cir. 1994).
            _____________

                      By  analogy to Title  VII, to establish  a claim of

            retaliation  Soileau  must  show   that  he  was  engaged  in

            protected conduct, that he was discharged, and that there was

            a causal  connection between  the discharge and  the conduct.

            Wyatt v. City of Boston, 35  F.3d 13, 15 (1st Cir. 1994) (per
            _____    ______________

            curiam); Hoeppner, 31 F.3d at 14.  
                     ________

                      Soileau relies  primarily on the timing  of events,

            saying  he  was  discharged  right  after  he  asked  for  an

            accommodation.   True enough.   But that narrow focus ignores

            the larger sequence of events and also the larger truth.  The

            larger picture undercuts any claim of causation.

                      Soileau was  disciplined and warned of discharge if

            his  performance did not  improve and if he  did not submit a

            performance plan.  The discipline and warning happened before

            Guilford  ever  knew  that   Soileau  was  asserting  he  was

            presently   disabled  and  before   Soileau  asked   for  the







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            accommodation of not  running meetings.4   Accordingly,  that

            discipline   and  explicit  warning   could  not   have  been

            motivated, even in part, by a request for an accommodation.5

                      There is  no other evidence tending  to support the

            retaliation claim.   Soileau admitted at  his deposition that

            he never formulated any improvement plan for Earnest.  He had

            been told that termination  was a possible outcome if  he did

            not  submit a  plan.   On  appeal,  Soileau argues  that  his

            seeking  psychological   counselling  was,  in   essence,  an

            improvement plan.  If so, he never said that to his employer,

            who knew only that no plan had been provided.  Further, it is

            undisputed  that  in the  interim  Guilford  did provide  the

            accommodation which Soileau  and his psychologist  requested.

            Soileau  no longer  had to  run meetings.   Evidence  that an

            employer  willingly  granted  an  employee's request  for  an

            accommodation, though by no  means dispositive of the matter,

                                
            ____________________

            4.  Soileau had not claimed earlier that he  was disabled and
            the employer is  not put  on notice of  a present  disability
            merely because an employee  some years in the past  has taken
            medical leave or has sought psychological counselling.

            5.  A  danger of the line of argument presented by Soileau is
            that it  would  permit  an  employee  already  on  notice  of
            performance problems to  seek shelter in  a belated claim  of
            disability.   The ADA was not meant to prevent employers from
            taking  steps to  address  poor  performance by  non-disabled
            employees.  As  Judge Sporkin  has said in  rejecting an  ADA
            retaliation claim, "To  allow the antidiscrimination laws  to
            be used  by poorly performing employees  will eventually work
            to the detriment of those who have a  legitimate need for the
            protection of  the laws."  Henry v.  Guest Servs., Inc.,  902
                                       _____     __________________
            F. Supp. 245,  254 (D.D.C.  1995), aff'd, 98  F.3d 646  (D.C.
                                               _____
            Cir. 1996).

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            tends to militate against  making an inference of retaliation

            in a case like this one.

                      In  short, the  timing dictates  against concluding

            that  the request  for accommodation caused  the termination,

            and  nothing  else  provides  evidence  from  which  such  an

            inference may be drawn.  While the discipline  of termination

            was  swift, and even harsh,  the evidence does  not support a

            retaliation claim.

                      The entry of summary  judgment for the defendant is

            affirmed.
            ________

































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